1. That one Cooke, who had been examined as a witness for the defendant, was interested in the event of the cause. (347)  and that this interest was not discovered by the plaintiff until after the jury had returned their verdict.
2. That the deposition of one Rebecca Hicks had been read for the defendant, which was in the handwriting of the witness Cooke.
3. That the witness Rebecca Hicks had declared to the plaintiff before the trial of the suit that she was illiterate and knew nothing of the contents of the deposition.
The defendant filed the affidavit of Cooke, the witness, who swore that the only way in which he was interested in the cause arose from the fact that his father was the bail of the defendant, and that his father was still alive. His Honor discharged the rule, and the plaintiff appealed.
It does not appear that Cooke had such an interest in the cause as to render him incompetent. *Page 225 
As to what Rebecca Hicks told the plaintiff relative to her deposition, he had ample time to avail himself of it (if that could be done) on the trial; he might also then have objected to her deposition, because it was in the handwriting of Cooke, if that objection would have availed him. I think the judge did right in not granting a new trial for these reasons.
PER CURIAM.   Judgment affirmed.
Approved: Bible Society v. Hollister, 54 N.C. 10; Farrar v. Staton,101 N.C. 78.
(348)